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                         IN THE UNITED STATES DISTRICT COURT

                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                         :

        v.                                       :     CRIMINAL NO.

CERTAIN PERSON(S)                                :


                                               OR D ER

                AND NOW, this 29th day of September, 2020, upon consideration of the

Government's Motion to Impound Information, and accompanying docket papers, and after

balancing the public right of access to court documents with the government's interest in

protecting an ongoing criminal investigation and protecting against the risk of the defendants

fleeing prior to arrest in this matter, it is hereby

                                            OR D ER E D

that the within information and accompanying docket papers are IMPOUNDED and are to be

retained in the custody of the Clerk of Court until notified by the United States Attorney that the

defendant has been arrested and the indictment can be unimpounded, except that the Clerk is

authorized to disclose to the attorney for the government the docket number and district court

judge assigned to the case, and the attorney for the government is authorized to disclose the

information to the district court judge assigned to the case. The Clerk of Court is directed to

make no public docket entry of the sealed documents and motion and order to seal, and to

provide copies of all sealed documents only to Jason P. Bologna, Assistant United States

Attorney.
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               IT IS FURTHER ORDERED THAT, the Clerk is directed upon notice from the

United States Attorney=s Office to remove the docket papers hereby impounded and restore the

same to the public docket.

                                    BY THE COURT:


                                    /s HENRY S. PERKIN
                                    HONORABLE HENRY S. PERKIN
                                    United States Magistrate Judge
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                        IN THE UNITED STATES DISTRICT COURT

                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                       :

          v                                    :       CRIMINAL NO.

CERTAIN PERSON(S)                              :


                          MOTION TO IMPOUND INFORMATION

                 The United States of America, by and through its attorneys, William M.

McSwain, United States Attorney for the Eastern District of Pennsylvania, and Jason P. Bologna,

Assistant United States Attorney for the District, moves to impound the within documents and in

support of its Motion states as follows:

                 1.     The within information, and accompanying docket papers, are documents

which, if made public would jeopardize the government's interest in protecting an ongoing

criminal investigation and protecting against the risk of the defendant=s fleeing prior to arrest in

this matter.

                 2.     Although the public has a common law right of access to judicial

proceedings and papers, matters relating to protecting an ongoing criminal investigation and

protecting against the defendant=s fleeing prior to arrest, are traditionally conducted ex parte and

in camera, with deference to the government's determination that the indictment should be

sealed.

                 3.     Accordingly, balancing the public's right of access to judicial documents

with the government's interest in not jeopardizing an ongoing criminal investigation and in

protecting against the risk of the defendant=s fleeing prior to arrest in this matter, the government
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respectfully requests that the government's Motion be GRANTED. The government further

requests that the Clerk of Court be directed to make no public docket entry of the sealed

documents and motion and order to seal, and to provide copies of all sealed documents only to

Jason P. Bologna, Assistant United States Attorney. It is further requested that the indictment

shall be unimpounded upon notice of the United States Attorney that the defendant has been

arrested.

                                             Respectfully submitted,

                                             WILLIAM M. McSWAIN
                                             United States Attorney



                                             /s/ Jason P. Bologna
                                             JASON P. BOLOGNA
                                             Assistant United States Attorney
September 29, 2020
